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                   Exhibit A
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             Plaintiffs’ February 10, 2025 Letter to Receiver re SATF Delegation – Outline

1. Delegation should be deferred until SATF improves its dismal patient care.

       A. Patients are dying as a result of SATF’s healthcare failures.

       B. Patients are at serious risk of harm due to SATF’s poor chronic care management.

       C. Patients are at serious risk of harm due to SATF’s persistent, significant lapses in care.

       D. Delegation should be deferred until SATF demonstrates the ability to provide adequate care
       to its patients.


2. Delegation is not appropriate while SATF is incapable of identifying serious deficiencies or of
remedying them once identified by outside reviewers.

       A. SATF is unable to identify its own serious medical care deficiencies.


              Emergency response reviews
              Specialty report follow-up
              Responding to abnormal labs
              Health care grievances
              Storage of medical supplies outside of acceptable temperature range
              Reconciliation
              Incontinence supplies
              Sick call slip triage and appointment deficiencies:
              Transportation cancellations


       B. Once deficiencies have been identified by outside sources, SATF has too often proven
       incapable of instituting effective and durable solutions.


              Specialty report follow-up
              Responding to abnormal labs:
              Missed offsite specialty care appointments
              Notification of deaf and hard of hearing patients
              Reconciliation
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              Incontinence supplies
              Storage of medical supplies outside of acceptable temperature range


       C. Delegation is not appropriate in the face of SATF’s lack of capacity to fix – or even recognize
       – its own problems.


3. Delegation should be deferred while SATF relies heavily on registry and overtime positions in an
attempt to keep up with patient demand and is unable to dedicate the time and resources necessary
to remedy healthcare deficiencies.

       A. Chief Physician and Surgeon

       B. PCPs

       C. Nursing

       D. Offsite transportation officers

4. Delegation is not appropriate until SATF fixes its broken ducating and refusal system and is able to
provide its patients the information and support they need to participate in their health care.
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                    Exhibit B
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                                                                                                          Executive Director:
                                              PRISON LAW OFFICE                                           Margot Mendelson
                                        General Delivery, San Quentin, CA 94964
                                      Telephone (510) 280-2621  Fax (510) 280-2704                       Attorneys:
                                                                                                          Rana Anabtawi
                                                   www.prisonlaw.com
                                                                                                          Patrick Booth
                                                                                                          Tess Borden
                                                                                                          Steven Fama
                                                                                                          Daniel Greenfield
                                                                                                          Mackenzie Halter
                                      Non-Paragraph 7 Query:                                              Alison Hardy
                       Pelican Bay State Prison Nursing Staffing and Services                             Sophie Hart
                                                                                                          Lily Harvey
                                                                                                          Jacob Hutt
                                                February 19, 2024                                         A.D. Lewis
                                                                                                          Rita Lomio
                                                                                                          Heather MacKay
                                                      +++++++                                             Megha Ram
                                                       +++++                                              Donald Specter
                                                      +++++++                                             Jerrod Thompson


We write to ask that you review and report on the adequacy and durability of nursing services at
Pelican Bay State Prison, given its persistent and highly aberrational hyper-reliance on registry
nursing staff, and its seemingly related problem hiring and retaining supervising nurses.

When Pelican Bay was delegated in June 2016, its total civil service employee nursing staff fill
rate, (comprising registered nurses, licensed vocational nurses, psychiatric technicians, medical
assistants, and certified nursing assistants) was 83%, with 80 of 96 positions so filled; that staff
was supplemented by six (6.0) full-time equivalent (FTE) registry staff.1 With some fluctuations
from month-to-month, this fill rate -- as well as the number of registry staff used -- remained
about the same until the start of the pandemic in early 2020. During the pandemic years, the civil
service total nursing fill rate at Pelican Bay decreased and the use of registry nursing staff
increased, as occurred at a number of prisons. However, Pelican Bay has continued to lose civil
service nursing staff and greatly increase its use of registry, as seen in the following table (nb:
December 2024 is the most recent data received):

Date          Fill Rate        Number Filled                Number of Positions                   Registry FTE
June 2016     83%                   80                           96                                      6
June 2017     74%                   73                           99                                      5
June 2018     82%                   72                           82                                      7
June 2019     83%                   68                           82                                      7
June 2020     70%                   64                           92                                      6
June 2021     66%                   61                           92                                      25
June 2022     52%                   48                           92                                      36
June 2023     42%                   40                           94                                      38
June 2024     36%                   37                           103                                     59
Dec 2024      32%                   32                           103                                     74
1
      All data here and below is rounded to the nearest whole number, and is taken or derived from
monthly HR Recruitment and Retention Reports.
                                                  Board of Directors
                        Jason Bell • Chesa Boudin • Vanita Gaonkar • Nick Gregoratos • Jean Lu
                   Claire McDonnell  Seth Morris • Keramet Reiter • Vishal Shah  Adrienne Yandell
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Non-Paragraph 7 Query: Pelican Bay State Prison Nursing Staffing and Services
Page 2

The trajectory of Pelican Bay’s nurse staffing is obvious and, to us, alarming. In recent years and
months, the number of civil service staff have decreased – with that staff having turned over at
almost a 50% rate, per the most recent data – while registry has increased such that the prison
currently has more than twice the number of FTE registry nursing staff than it has civil service
staff. Put another way, approximately 75% of Pelican Bay’s nursing positions are filled by
registry. Registry staff, we believe, require substantial training and supervision, have a higher
turnover rate than civil service staff, and, for those reasons, are on the whole less likely to know,
follow, or be invested in following policies and procedures, and create management and
continuity of care challenges. In addition, registry staff is often placed in positions typically not
the first choice of civil service staff, such as the TTA during first and third watch, when more
experienced staff may not be onsite. All this, we believe, puts patients at risk.

While all CDCR prisons use nursing registry staff, Pelican Bay’s hyper-reliance on such staff is
highly aberrational. As of December 2024, no other prison had more FTE registry than civil
service nursing staff -- let alone twice as many FTE registry as at Pelican Bay. Indeed, at all
other prisons the number of civil service nursing staff greatly exceeds the number of FTE registry
staff. The “worst” of the others in this regard – a total of four prisons – have three or four times
the number civil service staff than they do FTE registry staff; 14 prisons have five to eight times
more civil service nursing staff, while 11 have more than ten times more. In addition, and
underscoring the astounding outlier status of Pelican Bay, it appears that the current situation at
Pelican Bay, with FTE registry exceeding the number of civil service nursing staff, has not
happened elsewhere since 2008, when medical staffing reports were first provided in Plata. In
short, the current nurse staffing circumstances at Pelican Bay appear unprecedented.

Seemingly related to the above-described hyper-reliance on registry nursing staffing, Pelican Bay
has substantial vacancies among supervising nurses, with only approximately 45% of SRN-II
positions filled month-to-month. Equally notable, the civil service hires in those positions do not
stay: in the months between June and December 2024, the average reported year-to-date (YTD)
SRN-II turn-over rate at Pelican Bay was 88% (the lowest YTD turnover rate was 71%, in
August; in September, October, and November, respectively, the rate was 100%). This too is a
stunning aberration among CDCR prisons. In December 2024, for example, the next highest
SRN-II YTD turnover rate among the prisons was 22%; three other prisons also had
approximately 20% rate while all others had rates of approximately 10% or less, including twelve
with a YTD SRN-II turnover rate of 0%.

We acknowledge that, month-to-month, Pelican Bay’s Dashboard measure for timely RN face-to-
face triage appointments shows nearly 100% compliance. However, compliance with this
timeliness measure is not the be-all and end-all for assessing the adequacy of nursing services.
As demonstrated in recent Nursing Services Reviews done for delegation assessment purposes,
even when nearly all patients are timely seen, the quality of care at those appointments can
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remain inadequate. In addition, those Reviews have shown that even when face-to-face nursing
encounters are appropriate, other critically important nursing functions, including those related to
emergency services, specialty services, transfers, and health care environment, can be inadequate.
Non-Paragraph 7 Query: Pelican Bay State Prison Nursing Staffing and Services
Page 3

Given the above, we ask that you direct a Nursing Services Review be done for Pelican Bay, in
the manner done for delegation assessment. In addition to the standard audits, we request the
review determine the overall rate of registry nursing staff turnover, and the actual functions of
registry nurses at the prison, including the posts to which they are typically assigned – as well as
the turnover rate among key posts, such as the TTA. The review should also report on the impact
of training and supervision requirements for registry staff, as well as the seemingly related
problems of an very high turnover rate among civil service staff nurses and the extremely large
number of vacancies and extreme turnover rate for supervising nurses.

We further ask that you assess and report whether and to what extent Pelican Bay State Prison’s
persistent shortage of civil service and hyper-reliance on registry nursing staff adversely impacts
the adequacy of medical care, and whether the hyper-reliance on registry nursing staff is a
sustainable or durable approach to the prison’s medical staffing needs. Further, if concerns are
identified, we ask that you report what you, via your continuing authority, will do to address
them, or what Defendants must do to address the matter(s).

Thank you for your consideration of this matter.
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                    Exhibit C
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 MEMORANDUM
 Date         :     February 26, 2025

 To           :     Steven Fama, Prison Law Office
                    PRISON LAW OFFICE NON-PARAGRAPH 7 CONCERN RELATING TO
 Subject      :     RECEIVER / CCHCS ACTIONS TO IMPROVE SPECIALTY SERVICE
                    TIMELINESS AT CHCF

California Correctional Health Care Services (CCHCS) is providing the italicized information below in
response to your email inquiry dated January 15, 2025.

      What actions has the Receiver taken since July, and what actions will the Receiver take, and when, with
      regard to the persistent poor rates of timely completed high priority and medium priority specialty
      service appointments at CHCF, including with regard to the actions we requested in our 7/12/24 letter?

      CCHCS continues to monitor California Health Care Facility (CHCF) compliance metrics and
      collaborates with institution and headquarters staff to fully utilize the specialty network and continue
      to recruit additional providers, reviewing orders for clinical appropriateness, and coordinating with
      custody on staffing and transportation efforts.

      CCHCS is updating the Secondary Reviewer section of the Request for Services form in the Electronic
      Health Record System to allow Physician Managers (Chief Medical Executive and Chief Physician and
      Surgeon) to modify the priority timeframe before approving, ensuring orders reflect appropriate
      clinical urgency and prevent unnecessarily shortened compliance deadlines. This measure is set to
      launch by the end of March 2025. Furthermore, CCHCS is promoting the increased use of onsite and
      telemedicine services when clinically appropriate and supported by available resources.

      CHCF is preparing to implement a patient notification process to remind patients of upcoming specialty
      appointments, with the goal of reducing last-minute refusals that affect timelines and may lead to loss
      of specialists. This process is expected to launch in the second quarter of 2025. CHCF is also assessing
      travel distances for offsite specialty care, aiming to reduce distance when feasible while maintaining
      continuity of care.

Thank you.

cc:       Clark Kelso, Receiver
          Directors, CCHCS
          CCHCS Office of Legal Affairs
          Office of Legal Affairs, CDCR
          Office of the Attorney General
          Hanson Bridgett, LLP
          DeAnna Gouldy, Deputy Director, Policy and Risk Management Services, CCHCS
          Brittany Brizendine, Deputy Director, Institution Operations, CCHCS
          Robin Hart, Associate Director, Risk Management Branch, CCHCS

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                                                                                            Elk Grove, CA 95758
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MEMORANDUM                                                                                 Page 2 of 2


Re: Receiver / CCHCS Actions to Improve Specialty Service Timeliness at CHCF

       Regional Executives, Regions I-IV, CCHCS




                                                                                       P.O. Box 588500
                                                                                   Elk Grove, CA 95758
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                    Exhibit D
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Plata | Non Para 7 Query: Heat Issues and Temperature Measurement Practices
1 message

Mackenzie Halter                                                                                 Mon, Nov 4, 2024 at 3:50 PM
To: Clark Kelso




 Good afternoon,
 We write to request further information related to extreme heat. Specifically, we request information related to: Judge
 Tigar’s discussion of extreme heat at the September 2024 Case Management Conference, see Sept. 23, 2024 CMC
 Transcript 18:21-22:17; the August 2, 2024 CDCR/CCHCS memo, “Expectations Relative to Institutional Oversight of
 Heat Plan Operations” (“the Memo,” attached) and related “Heat Plan Monitoring Tips” (attached); and follow-up on the
 October 28, 2024 CCHCS/CDCR response to our query on heat related issues (“the Response,” attached).

 1) Is there an indoor temperature above which CDCR agrees it would not be healthy for an incarcerated person to stay for
 an extended period of time?
       a. If so, what temperature, and how long does CDCR believe an individual would need to be exposed to that
       temperature to experience adverse health impacts?
       b. What is the basis for that opinion?
 2) In the Response, CDCR and CCHCS stated, “there are existing efforts to track and monitor heat-related impacts,
 including ongoing local collaborations.”
       a. Please explain these efforts.
       b. Does CCHCS have data/statistics about, or track treatment of, heat-related conditions for residents?
       c. If so, please describe the data and the methods of tracking such treatment, and provide the data maintained by
       CCHCS of treatment for heat-related conditions from July 1, 2024 to September 30 2024.
 3) The Response stated “the Receiver, in collaboration with custody partners, is committed to developing a heat plan
 which will involve long-term and sustainable processes to mitigate high temperatures and address health care conditions
 through heat planning, management, and oversight.” It further stated that “[a]dditional efforts needed [related to staff
 identifying and managing patient care during high heat months] are being examined and will be implemented prior to the
 2025 high heat month,” and will include “long term solutions.”
       a. Will the referenced heat plan, and the additional efforts including long term solutions, be a part of formal CCHCS
       policy or otherwise provided in a format that will permit us to consider them before they are finalized, so as to offer
       comments and proposed revisions, if necessary?
              i. If yes, when will they be provided?
              ii. If no, please explain.
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4) According to the Response, it is expected that prisons monitor indoor and outdoor temperatures, and according to the
Memo, which contains “requirements” for CDCR Wardens and CEOs to be implemented “immediately,” on days when the
heat index is expected to reach 100 F or higher (“Heat Advisory” days), leadership must convene to discuss the situation.
These discussions “should include,” among other items, “[d]aily verification of the temperature records and all heat
incident logs as required.” CCHCS/CDCR’s “Heat Plan Monitoring Tips” which we understand is meant to assist with the
implementation of the Memo, directs prisons to consider whether “there [is] verification of the daily housing unit
documentation of temperature records, heat incident logs, medical rounds log, etc.”
       a. Under the Memo, are all prisons required to measure and record the temperature of residents’ living areas on
       Heat Advisory days?
       b. In or on what form are prisons expected to document the housing unit temperature measurements?
       c. What information are prisons required to document apart from the temperature itself (i.e., time, location, outside
       temperature)?
5) The “Heat Plan Monitoring Tips” also states “Plant Operations shall . . . determine the hottest location within the
housing unit where temperatures are taken including inside a cell.”
       a. Does the Memo and Heat Plan Monitoring Tips require that each CDCR institution take temperatures in the
       hottest location in the housing unit? Please explain.
       b. Will the forthcoming state-wide heat plan require that all prisons measure and record the hottest location within
       housing units? Please explain.
              i. Will the plan provide guidance to each prison on how to properly determine the hottest location within the
              housing units? Please explain.
6) Please provide a list of all housing units at each CDCR prison, and for each housing unit please specify:
       a. Whether the residents’ living areas are equipped with mechanical air conditioning, evaporative cooling, another
       cooling technology/process, or no cooling technology/process.
       b. For all housing units with a cooling technology/process, please specify:
              i. Whether the cooling technology is mechanical air conditioning, evaporative cooling, or another cooling
              technology/process (please specify the other cooling technology/process);
              ii. Whether the cooling technology is central, ductless, or portable; and
              iii. Whether any of the systems are temporarily or permanently inoperable (please specify whether
              temporary or permanent) and the date on which the system became temporarily or permanently inoperable.
Thank you,

Mackenzie Halter
Legal Fellow
Prison Law Office


Pronouns: she/her

3 attachments
     CEO_Warden_Heat_Plan_Operational_Directive_8.2.24.pdf
     824K
     Heat Plan Monitoring Tips.pdf
     185K
     24.10.28 CCHCS CDCR Response RE Heat-Related Issues.pdf
     264K
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                    Exhibit E
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 MEMORANDUM
 Date         :     February 20, 2025

 To           :     Mackenzie Halter, Prison Law Office

                    PRISON LAW OFFICE NON-PARAGRAPH 7 CONCERN RELATING TO
 Subject      :
                    HEAT ISSUES AND TEMPERATURE MEASUREMENT PRACTICES

California Correctional Health Care Services (CCHCS) and California Department of Corrections and
Rehabilitation (CDCR) are providing the italicized information below in response to your email inquiry
dated November 4, 2024.

1. Is there an indoor temperature above which CDCR agrees it would not be healthy for an incarcerated
   person to stay for an extended period of time and what is the basis for that opinion, and if so, what
   temperature, and how long does CDCR believe an individual would need to be exposed to that
   temperature to experience adverse health impacts?

      CDCR/CCHCS continue to assess matters relating to temperatures at institutions. In the 1980s, CDCR
      Design Criteria Guidelines (DCG) were created to set design and construction standards for all CDCR
      institutions. DCG require cooling be provided for housing areas to maintain an indoor temperature,
      which provides a quality indoor environment suitable for thermal comfort that is related to one’s
      metabolic heat production, the transfer of heat to the environment, physiological adjustments, and body
      temperature. The temperature identified in DCG to meet this standard is 89 Fahrenheit (°F) or cooler.
      Depending on the severity of outdoor temperatures, existing systems used at CDCR institutions are not
      always capable of meeting the current standard of 89°F.

      Recognizing these limitations and recognizing a “one size fits all” approach is not appropriate for
      addressing the heat tolerance and responses of patients and institutions statewide, each year CDCR
      and CCHCS issue a joint memorandum prompting institutions to plan and implement specific
      operational responses to high-heat conditions. This annual joint memorandum also highlights the
      major requirements of the Heat Plan, including, among other things, that the institution activate heat
      alerts, the first stage starting when the outside air temperature reaches 90°F, and take special
      precautions during those heat alerts for patients taking heat-alert medications. Efforts undertaken by
      CDCR and CCHCS in response to high-heat conditions are intended to mitigate the risk of adverse
      health impacts of heat on the population within CDCR. Moreover, to promote positive patient
      outcomes, CCHCS educates patients on steps to prevent heat stress and how to respond when
      experiencing heat stress signs and symptoms. Additionally, both custodial and clinical staff receive
      annual training regarding heat-related pathologies, which include the signs of heat stress and on how
      to respond. CCHCS licensed health care providers are equipped to identify and treat heat-related
      illnesses and document health care encounters as appropriate.

      Although no specific indoor temperature has been determined by CDCR/CCHCS to pose a substantial
      risk of serious illness or injury to the population of CDCR, the health and safety of the CDCR’s
      population remains a top priority. Accordingly, CDCR and CCHCS leadership, collectively and

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Re: Heat Issues and Temperature Measurement Practices

   independently, continue to collaborate to establish practices that protect the health and safety of
   CDCR’s population, including practices during extreme weather conditions.

2. In the Response [i.e., CCHCS/CDCR memorandum, dated October 28, 2024, responding to the PLO’s
   query on heat related issues (“the Response”)], CDCR and CCHCS stated, “there are existing efforts to
   track and monitor heat-related impacts, including ongoing local collaborations.”

   a. Please explain these efforts.

   In addition to the requirements for tracking and monitoring that were set forth in the 2024 Heat Plan
   and Updates, the CDCR/CCHCS joint memorandum, dated August 2, 2024, “Expectations Relative to
   Institutional Oversight of Heat Plan Operations” (referred to in the PLO’s inquiry as “the Memo”),
   explained the expectations for local collaboration and oversight of heat plan operations at institutions.

   CDCR/CCHCS leadership continue planning for high-heat months and prolonged periods of extreme
   heat (heat waves), and are clarifying expectations for tracking and monitoring heat-related health care
   impacts. Directives to institutions continue to set forth staff expectations for documenting and reporting
   heat-related medical incidents of incarcerated individuals, which is anticipated to further support
   institutions’ local patient safety efforts. Moreover, institution leaders are also expected to engage in
   regular discussions with representatives of the incarcerated population regarding their concerns
   related to heat. This will continue to promote institution leadership’s monitoring of heat-related
   impacts on the incarcerated population.

   b. Does CCHCS have data/statistics about, or track treatment of, heat-related conditions for residents?

   Direction on collecting and reporting heat-related conditions within CDCR is generally provided in
   the annual CDCR/CCHCS joint memorandum regarding the Heat Plan and Updates, which requires
   specific data be collected and reported between May 1 through October 31 of each year and whenever
   temperatures warrant. See e.g., CDCR/CCHCS Memorandum regarding 2024 Heat Plan and Updates,
   attached hereto as Attachment A.

   The Heat Plan, and Health Care Department Operations Manual (HCDOM) 1.2.7, Institution Patient
   Safety Program, requires CCHCS staff to report heat-related health care incidents via the centralized
   electronic Health Care Incident Reporting (eHCIR) system. CCHCS Health Care Incident Reports
   allow health care staff to submit anonymous reports for local patient safety efforts. CCHCS patient
   safety efforts are consistent with standards in the health care industry and provide a confidential
   process that is critical for identifying and evaluating health care incidents that could have or may have
   resulted in serious patient injury. Patient safety reporting is also used to identify trends involving less
   serious incidents. Ultimately, patient safety efforts are designed to identify opportunities to prevent
   patient harm while addressing systemic issues within the health care delivery system.

   As noted, CCHCS anticipates issuing mandates to health care staff, which will include clarifying the
   reporting requirements of heat-related health care incidents. It is expected that these efforts will further
   assist institutions’ health care leadership in patient safety efforts.




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Re: Heat Issues and Temperature Measurement Practices

    c. If so, please describe the data and the methods of tracking such treatment, and provide the data
       maintained by CCHCS of treatment for heat-related conditions from July 1, 2024 to September 30
       2024.

    Please see above.

3. The Response stated “the Receiver, in collaboration with custody partners, is committed to developing
   a heat plan which will involve long-term and sustainable processes to mitigate high temperatures and
   address health care conditions through heat planning, management, and oversight.” It further stated
   that “[a]dditional efforts needed [related to staff identifying and managing patient care during high heat
   months] are being examined and will be implemented prior to the 2025 high heat month,” and will
   include “long term solutions.”
    a. Will the referenced heat plan, and the additional efforts including long term solutions, be a part of
       formal CCHCS policy or otherwise provided in a format that will permit us to consider them before
       they are finalized, so as to offer comments and proposed revisions, if necessary?
             i. If yes, when will they be provided?
            ii. If no, please explain.
    Each year, CDCR and CCHCS issue a joint memorandum regarding the Heat Plan and Updates. In
    August 2024, CDCR and CCHCS also issued a joint memorandum clarifying the expectations for
    institutional oversight of Heat Plan operations. CDCR and CCHCS continue to collaborate on the
    development and implementation of the Heat Plan for 2025. At this time, the Heat Plan is not
    anticipated to be incorporated into the HCDOM. However, if HCDOM provisions pertaining to heat-
    related health care are indicated, CCHCS will ensure Plaintiffs’ counsel will have the opportunity to
    review and comment on provisions, in accordance with CCHCS’s standard stakeholder review process.

4. According to the Response, it is expected that prisons monitor indoor and outdoor temperatures, and
   according to the Memo, which contains “requirements” for CDCR Wardens and CEOs to be
   implemented “immediately,” on days when the heat index is expected to reach 100 F or higher (“Heat
   Advisory” days), leadership must convene to discuss the situation. These discussions “should include,”
   among other items, “[d]aily verification of the temperature records and all heat incident logs as
   required.” CCHCS/CDCR’s “Heat Plan Monitoring Tips” which we understand is meant to assist with
   the implementation of the Memo, directs prisons to consider whether “there [is] verification of the daily
   housing unit documentation of temperature records, heat incident logs, medical rounds log, etc.”

    a. Under the Memo, are all prisons required to measure and record the temperature of residents’ living
       areas on Heat Advisory days?

        Pursuant to the CDCR/CCHCS joint memorandum, dated August 2, 2024, institutions were to
        measure and record temperatures in all non-air-conditioned living areas housing incarcerated
        persons through October 31, 2024.




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Re: Heat Issues and Temperature Measurement Practices

    b. In or on what form are prisons expected to document the housing unit temperature
       measurements?

        CDCR Form 2031.

    c. What information are prisons required to document apart from the temperature itself (i.e., time,
       location, outside temperature)?

        Institutions were expected to document information required by the directives issued in the
        CDCR/CCHCS joint memorandum, dated April 8, 2024, regarding the 2024 Heat Plan and
        Updates, and the joint memorandum, dated August 2, 2024, regarding Expectations Relative to
        Institutional Oversight of Heat Plan Operations, which would include all information required in
        CDCR Forms 2030, 2031, 7711-1, 7711-2, and 7711-3, when appropriate.


5. The “Heat Plan Monitoring Tips” also states “Plant Operations shall . . . determine the hottest location
   within the housing unit where temperatures are taken including inside a cell.”

    a. Does the Memo and Heat Plan Monitoring Tips require that each CDCR institution take
       temperatures in the hottest location in the housing unit? Please explain.

        Pursuant to the CDCR/CCHCS joint memorandum, dated August 2, 2024, regarding Expectations
        Relative to Institutional Oversight of Heat Plan Operations, institutions were to measure
        temperatures in the highest location of non-air-conditioned living areas where incarcerated
        persons were housed. While institutions could undertake efforts to determine the hottest location(s)
        within their housing units and take temperatures there, the August 2, 2024, joint memorandum did
        not require it.

    b. Will the forthcoming state-wide heat plan require that all prisons measure and record the hottest
       location within housing units? Please explain.

        Currently, there is no plan to require plant operations at all prisons to determine the hottest
        location(s) within each housing unit. Nor is there a plan to require institutions to measure and
        record temperatures at the hottest location within housing units. Requiring all institutions to
        measure temperatures in the hottest location of a housing units is not practicable, in part because
        the hottest location can and does change regularly depending on a variety of factors.

           i.   Will the plan provide guidance to each prison on how to properly determine the hottest
                location within the housing units? Please explain.
                See response above.

6. Please provide a list of all housing units at each CDCR prison, and for each housing unit please specify:
                                                                                              P.O. Box 588500
                                                                                          Elk Grove, CA 95758
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Re: Heat Issues and Temperature Measurement Practices

         a. Whether the residents’ living areas are equipped with mechanical air conditioning, evaporative
            cooling, another cooling technology/process, or no cooling technology/process.
         b. For all housing units with a cooling technology/process, please specify:
              i. Whether the cooling technology is mechanical air conditioning, evaporative cooling, or
                 another cooling technology/process (please specify the other cooling technology/process);
             ii. Whether the cooling technology is central, ductless, or portable; and
             iii. Whether any of the systems are temporarily or permanently inoperable (please specify
                  whether temporary or permanent) and the date on which the system became temporarily or
                  permanently inoperable.


      Please find attached hereto as Attachment B, the existing CDCR report capturing the cooling systems
      within institutions’ housing facilities.

Thank you.

cc:      Clark Kelso, Receiver
         Diana Toche, D.D.S., Undersecretary, Health Care Services, CDCR
         Directors, CCHCS
         Gena Jones, Director, DAI, CDCR
         CCHCS Office of Legal Affairs
         Office of Legal Affairs, CDCR
         Office of the Attorney General
         Hanson Bridgett, LLP
         DeAnna Gouldy, Deputy Director, Policy and Risk Management Services, CCHCS
         Brittany Brizendine, Psy.D., Deputy Director, Institution Operations, CCHCS
         Robin Hart, Associate Director, Risk Management Branch, CCHCS
         Regional Executives, Regions I-IV, CCHCS




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 MEMORANDUM
 Date         :     October 28, 2023

 To           :     Steven Fama, Prison Law Office

                    PRISON LAW OFFICE NON-PARAGRAPH 7 CONCERN RELATING TO
 Subject      :
                    HEAT-RELATED ISSUES

California Correctional Health Care Services (CCHCS) and California Department of Corrections and
Rehabilitation (CDCR) are providing the italicized information below in response to your email inquiry
dated August 19, 2024.

1. We write to ask that the Receiver, CCHCS, and CDCR take actions to provide decent living conditions
   for and adequately protect CDCR residents’ health and safety from excessive heat. CDCR houses
   residents in un-airconditioned and otherwise inadequately cooled cells and dorms in many prisons,
   including in the central valley where increasingly extended periods of extremely hot temperatures occur
   (in July, for example, temperatures in that region exceeded 100 degrees on all but a handful of days,
   and this month’s temperatures have not been materially different to date, with approximately ten days
   on which the high was at least 100 degrees, with mid- to high 90 degree temperatures otherwise
   typically reported).

      CCHCS and CDCR are committed to ensuring the health and safety of all incarcerated persons during
      high temperature heat days. There are regular and ongoing discussions between local and
      headquarters leaders during high heat days to address high temperature conditions at institutions.
      Although the existing Statewide Heat Plan requires institutions monitor indoor and outdoor
      temperatures and take appropriate measures for patient safety, the Receiver, in collaboration with
      custody partners, is committed to developing a heat plan which will involve long-term and sustainable
      processes to mitigate high temperatures and address health care conditions through heat planning,
      management, and oversight. To further these efforts and goals, on August 2, 2024, a memorandum was
      released explaining expectations for collaboration and oversight of heat management.

2. We appreciate the 8/2/24 CCHCS/CDCR memorandum titled “Expectations [regarding] Heat Plan
   Operations.” It is not clear whether the provisions of and other matters related to that memo pertain to
   all residents, or just those covered by the Coleman Heat Plan. We believe CCHCS and CDCR need a
   comprehensive Heat Plan for all residents and need to take actions in addition to those outlined in the
   memorandum.

      The memorandum dated August 2, 2024, pertains to all incarcerated persons.

3. The Receiver and CCHCS should undertake a formal resident / patient education campaign on
   hyperthermia, including symptoms and advice to seek medical care. Education, including information
   sheets and posters, should be provided at least annually and specially focus on residents housed in un-
   air conditioned housing units and cells in areas subject to extreme heat. The posters and brochure on
   Lifeline are a good start, but it is not clear whether or to what extent those have been mandated, or even

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Re: Heat-Related Issues

    voluntarily used. The use of posters, and the availability of educational brochures, should be required
    by policy, with postings and availability monitored. Also, alternate education, including via text and
    video, if possible, should be pursued.

    Patient education is a critical component for prevention and response to health care conditions related
    to high temperatures, and a robust patient education effort will be part of future heat plans.

4. The Receiver and CCHCS should also educate staff including nurses on hyperthermia symptoms and
   treatment. While Lifeline provides a link to a CDPH website listing tips for treating heat-related illness,
   that site provides lay-person advice, and, to the extent it would be helpful to medical CCHCS staff, it
   does not appear they are mandated to read it.

    The Receiver is committed to ensuring health care staff are prepared to identify and manage patient
    care during high heat months, and all CDCR and CCHCS staff receive annual training on heat-related
    illnesses and injuries. Licensed health care providers are trained to identify heat-related medical
    conditions and symptoms. Additionally, the August 2, 2024, memorandum outlines related institutional
    collaboration efforts between health care and custody staff. Additional efforts needed in this area are
    being examined and will be implemented prior to the 2025 high heat month. These efforts will include
    long-term solutions.

5. Further, the Receiver and CCHCS should mandate that nurses and providers specially consider whether
   patients’ presentations and symptoms, including during urgent/emergent encounters, are heat related.
   In addition, all staff should be mandated to specially document and report when a heat-related
   healthcare encounter takes place. Also, data regarding such heat-related encounters, including the
   number, should be tracked and reported.

    Consistent with above, clinical providers are trained in identifying heat-related conditions and
    symptoms, and address and document medical care during encounters. In addition, there are existing
    efforts to track and monitor heat-related impacts, including ongoing local collaborations. The Receiver
    is committed to ensuring long-term, sustainable processes are implemented for planning, management,
    and oversight of heat-related conditions.

6. More broadly, we believe air-conditioning of resident living areas (cells and dorms) is necessary to
   provide decent living conditions for and adequately protect CDCR residents’ health and safety from
   excessive heat. The Receiver and CCHCS should recommend that such be done, and CDCR should do
   so, just as was done with the eight CIM-A dormitories via a Fiscal Year 2021-2022 Budget Change
   Proposal.

    Your recommendation is noted and will be reviewed by CCHCS and CDCR.

7. In the interim, the Receiver and CCHCS should recommend, and CDCR should take, other measures,
   including but not limited to the following:
   • Improved temperature taking – including mandating in-cell temperatures and in area known to the
        warmest in housing units, and use of heat index measures, with housing unit temperatures and heat-
        index results timely and regularly publicly reported.
   • Provision of iced water, replenished promptly when empty, to all residents in housing units with
        indoor heat index temperatures of 80 degrees or higher, with such practices mandated in written
        policy and procedure applicable to all residents.
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Re: Heat-Related Issues

      •   Making in-cell or bed-side portable fans available to all residents, including those unable to buy
          them, in housing units with indoor heat index temperatures of 80 degrees or higher. This too should
          be mandated in written policy and procedure applicable to all residents.
      •   Placement and use of portable-coolers and fans in unairconditioned housing unit and dorm common
          areas in which there is a heat index temperature of 80 degrees or higher. As above, this measure
          should be mandated in written policy and procedure applicable to all residents.
      •   Focused maintenance of mechanical including evaporative coolers and other ventilation systems in
          all resident housing units, with the working status of such – and all incidents of such systems not
          working properly -- regularly, timely, and publicly reported during the heat season (May 1 through
          October 31 each year).
      •   Erection of sunshades and water-misters on outdoor yards and other areas where residents
          congregate, including for medication lines.

      The Statewide Heat Plan is updated annually, outlining the necessary requirements and expectations
      for institutions regarding hot weather. These requirements and expectations include identifying
      incarcerated persons on heat alert medication, monitoring of both outdoor and indoor temperatures,
      as well as implementing appropriate cooling measures. In addition, there is a workgroup collaboration
      between CCHCS and the Division of Adult Institutions whose focus is to develop long-term, sustainable,
      standard processes and outline clear logistics relative to the heat plan policy and oversight processes
      at institutions.

      As stated above, the Receiver is committed to working with custody partners for the health and safety
      of all incarcerated persons during high heat weather conditions. These recommendations will be
      considered in the development, planning, and implementation of the heat plan.

Thank you.

cc:       Clark Kelso, Receiver
          Directors, CCHCS
          CCHCS Office of Legal Affairs
          Office of Legal Affairs, CDCR
          Office of the Attorney General
          Hanson Bridgett, LLP
          DeAnna Gouldy, Deputy Director, Policy and Risk Management Services, CCHCS
          Brittany Brizendine, Psy.D., Deputy Director, Institution Operations, CCHCS
          Jennifer Benavidez, Deputy Director, Facility Operations, Division of Adult Institutions, CDCR
          Robin Hart, Associate Director, Risk Management Branch, CCHCS
          Regional Executives, Regions I-IV, CCHCS




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                    Exhibit G
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Fiscal Year        Business Unit Number    Department
2025-26            5225                    California Department of Corrections and Rehabilitation



Hyperion Budget Request Name               Relevant Program or Subprogram
5225-066-BCP-2025-GB                       4550059 - Fac Plan & Const Mgmt Special Repairs
Budget Request Title
Air Cooling Pilot Program

Budget Request Summary
The California Department of Corrections and Rehabilitation (CDCR) requests $23.6 million one-time
General Fund in 2025-26, and $45.4 million one-time General Fund in 2026-27, for a pilot program to
install and evaluate air cooling alternatives to improve indoor environments at the Central California
Women’s Facility (CCWF), California Medical Facility (CMF), Kern Valley State Prison (KVSP), and
California State Prison, Los Angeles (LAC).

A subsequent analysis of the alternatives used at the identified institutions will assist CDCR in developing
a statewide effort to address the indoor temperatures at buildings that severely impact incarcerated
individuals. The Department also requests provisional language to extend the expenditure and
encumbrance period through June 30, 2028.

Requires Legislation (submit required legislation     Code Section(s) to be
with the BCP)                                         Added/Amended/Repealed
☐ Trailer Bill Language
☒ Budget Bill Language             ☐ N/A

Does this BCP contain information technology (IT)     Department CIO                      Date
components? ☐ Yes ☒ No
If yes, departmental Chief Information Officer
must sign.
 For IT requests, specify the project number, the most recent project approval document (FSR, SPR,
 S1BA, S2AA, S3SD, S4PRA), the approval date, and the total project cost.
Project No.      Project Approval Document:
Approval Date:                                 Total Project Cost:

If proposal affects another department, does other department concur with proposal? ☐ Yes ☐ No
Attach comments of affected department, signed and dated by the department director or
designee.

Prepared By                      Date                   Reviewed By                       Date
Michelle Weaver                  1/10/2025              Cynthia Mendonza                  1/10/2025
Department Director              Date                   Agency Secretary                  Date
Dave Lewis                       1/10/2025              Jeff Macomber                     1/10/2025
                                    Department of Finance Use Only

Additional Review: ☐ Capital Outlay ☐ ITCU ☐ FSCU ☐ OSAE ☐ Dept. of Technology

Principal Program Budget Analyst                        Date submitted to the Legislature
Lynne Ishimoto                                          1/10/2025
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A. Problem Statement
   In the 1980s, CDCR Design Criteria Guidelines (DCG) were created to set design and construction
   standards for all CDCR institutions. DCG require cooling be provided for housing areas to maintain
   an indoor temperature, which provides a quality indoor environment suitable for thermal comfort
   that is related to one’s metabolic heat production, the transfer of heat to the environment,
   physiological adjustments, and body temperature. The temperature identified in DCG to meet this
   standard is 89 Fahrenheit (°F) or cooler. Thermal comfort and body temperature are unique
   concerns for incarcerated individuals on specific medications. Depending on the severity of
   outdoor temperatures, existing systems used at CDCR institutions are not always capable of
   meeting the current standard of 89°F.

   Recognizing this concern, the Coleman court mandated CDCR to establish and adhere to a
   Prevention Plan for Heat Related Pathologies. The Prevention Plan addresses the policies and
   procedures institutions must implement when “heat-risk incarcerated individuals” (incarcerated
   individuals on specified medications that face health risks in high heat conditions) are exposed to
   extreme high temperatures. This Plan requires institutions to initiate Stage I alerts when outside
   temperatures reach 90°F and remain in effect until temperatures fall back below 90°F. Stage II and
   III heat alerts are initiated when the inside temperature of a building housing “heat-risk incarcerated
   individuals” reaches 90°F and 95°F, respectively.

   Heat Stage Activation Measures
   Stage I (Outside temperatures reach 90°F or more):
      • Return to Housing - All heat-risk incarcerated persons are restricted to a maximum of 30
      minutes outside to perform officially sanctioned activities, such as returning to housing units
      and receiving medications. This time is not to be used for leisure activities.

   Stage II (Inside temperatures reach 90°F or more):
      • Staff must initiate cooling and hydration measures, which may include cool drinking
      water, misting, and cool showers.
      • Staff must also increase observation of heat-risk incarcerated person for signs of
      heat-related illness and report any symptoms to health care staff.

   Stage III (Inside temperatures reach 95°F or more):
      • Medically trained personnel must perform medical rounds to observe each heat-risk
      incarcerated person at least once every two hours during the period when the inside
      temperature remains at 95°F or above, and record the incarcerated person’s condition.
      • If any incarcerated person shows signs or symptoms of heat related illness, they must be
      provided cooling measures or be sent to the Triage and Treatment Area.

   Additionally, excessive heat conditions are not conducive to the rehabilitative mission as excessive
   heat makes it difficult to focus and participate in programming, negatively impacting morale for
   the incarcerated population and staff. In March 2023, Governor Gavin Newsom unveiled the state’s
   plan (California Model) to transform the criminal justice system. The goals of which are not only to
   reimagine the correctional landscape for the people in CDCR’s care, but also to change how
   prisons operate, how employees interact with both each other and incarcerated people, and how
   safe and engaged incarcerated people feel in CDCR’s care.

   All regions of California have warmed over the last century, although at varying rates. Southern
   California is warming about twice as fast as Northern California, contributing to a statewide annual
   mean temperature increase of 2.5°F. Additionally, warming has accelerated recently, with seven
   of the last eight years being the warmest on record.

   On July 24, 2024, the Occupational Safety and Health Standards Board (OSHSB) approved a
   regulation requiring employers to take steps to protect workers from heat illness/injury when indoor
   temperatures reach 82°F, with additional requirements when temperatures reach 87°F. OSHSB is in
   the process of developing an industry-specific regulation for workers in local and state correctional
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   facilities. CDCR is taking a proactive approach to determine which strategy/strategies will reduce
   indoor temperatures, balancing the effectiveness and cost. CDCR recognizes the importance of
   how environmental conditions aid in providing a conducive setting for rehabilitation and is
   committed to maintaining established standards to ensure the physical safety and well-being of
   staff and the incarcerated population.

B. Justification
   Most of CDCR’s institutions were built at a time when the comfort level of the incarcerated
   population was not a consideration or priority. As such, many Housing Units (HUs) and support
   buildings throughout the state were originally equipped with only air handling units or evaporative
   cooling systems; neither of which are sufficient to provide adequate relief from excessive heat
   during summer months. Although there have been efforts to retrofit several housing units and various
   buildings used for rehabilitative programs at multiple institutions over the years, a significant number
   remain that require air cooling upgrades or other alternatives to address rising indoor temperatures.

   An engineering study was completed in April 2024 to analyze the existing cooling systems at five
   typical HUs and provide system replacement recommendations for systems potentially capable of
   meeting indoor temperatures at or near 78°F. Recognizing the variety of buildings that exist within
   CDCR’s portfolio, the best approach to improve indoor conditions may differ based on construction
   type, materials used, existing cooling systems (where present), orientation of the structure(s), and
   geographical location of the institution. As such, the four institutions selected provide a wide range
   of buildings to test the three alternative approaches:

       • Option 1 – Thermal Insulation only
       • Option 2 – Air Cooling only
       • Option 3 – Thermal Insulation and Air Cooling

   These options will be installed at CCWF, CMF, KVSP, and LAC. These prisons offer a variety of housing
   unit styles that will allow CDCR to evaluate and determine the effectiveness of each option.
   Identified buildings include: 180-style (Two Tiered - 128 Cells), 270-style (Two Tiered - 100 Cells),
   Mainline (3 story Dorm/Cells with varying Design Capacity), and Cross-Top (Dorms – 128 Capacity)
   HUs. The varied HU styles, along with heat log data, and other historical records related to indoor
   temperatures will help CDCR determine the optimal option for each style, while accounting for the
   physical characteristics identified above.

   The pilot program will install air cooling alternatives at the following locations:

   CCWF - Facility B, Buildings 506, 507 and 508 (Cross-Top Housing Units)
     • Building 506: insulation at exterior walls only
     • Building 507: air cooling only
     • Building 508: air cooling and insulation at exterior walls

   CMF - Facility A, Wing H51/P-Wing (Mainline Housing Units)
     • Wing H51: one wing consisting of three floors to receive air cooling and insulation at exterior
        walls

   KVSP - Facility C, Buildings 341, 342, and 344 (180-style Housing Units)
      • Building 341: insulation at exterior walls only
      • Building 342: air cooling only
      • Building 344: air cooling and insulation at exterior walls

   LAC - Facility D, Buildings 348, 349 and 3410 (270-style Housing Units)
      • Building 348: insulation at exterior walls only
      • Building 349: air cooling only
      • Building 3410: air cooling and insulation at exterior walls
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   This project will allow CDCR to develop a future statewide plan to address the indoor temperatures
   at buildings that severely impact the correctional landscape for the people in CDCR’s care,
   including institution staff and incarcerated individuals.

   The project will include design and installation of the three air cooling options at the identified
   institutions. CDCR is requesting provisional language to extend the expenditure and encumbrance
   period through June 30, 2028, to ensure that funding remains available for the duration of the project.

C. Departmentwide and Statewide Considerations
   This proposal supports the Administration’s policies, priorities, and initiatives to comply and
   complete requirements associated with ongoing court cases, including increasing the delivery of
   program and rehabilitative services, and enhancing conservation measures and sustainable
   design. This proposal supports CDCR’s Organizational Goals in Risk Management/Organizational
   Effectiveness as well as CDCR’s Programmatic Goals in Health Care Delivery by providing indoor
   environments that reduce the health risks to incarcerated individuals, most significantly for those
   who are adversely impacted by high temperatures. This proposal will also assist in improving living
   conditions at institutions statewide.

D. Outcomes and Accountability
   CDCR will develop a comprehensive report/analysis of the results, detailing the effectiveness of
   each alternative approach to improve indoor conditions at the pilot institutions. The report will
   include effectiveness, cost evaluation, and recommendations for statewide implementation.

E. Implementation Plan
   CDCR will begin the design and installation of the various air cooling options at the identified
   institutions. Exterior Insulation will begin in 2025-26 followed by air-cooling system installation in
   2026-27, with final completion anticipated in 2028-29. CDCR will evaluate and determine the
   effectiveness of each option and develop a statewide effort to address indoor temperatures
   throughout CDCR.

F. Supplemental Information
   Attachment A – Provisional Language
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                                                                           Attachment A


Air Cooling Pilot Program BCP

5225-001-0001 – For support of Department of Corrections and Rehabilitation

Provisions:

X.      Of the amount specified in Schedule X of this item, up to $23,606,000 is specified
        for the purpose of the Air Cooling Pilot Program and shall be available for
        encumbrance or expenditure until June 30, 2028.
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BCP Fiscal Detail Sheet
BCP Title: Air Cooling Pilot Program
BR Name: 5225-066-BCP-2025-GB
Budget Request Summary
Operating Expenses and Equipment
Operating Expenses and Equipment                          FY25          FY25         FY25         FY25        FY25        FY25
                                                         Current       Budget        BY+1         BY+2        BY+3        BY+4
                                                          Year          Year
5324 - Facilities Operation                                        0     23,606       45,399             0           0           0
Total Operating Expenses and Equipment                         $0        $23,606      $45,399            $0          $0          $0
Total Budget Request
Total Budget Request                                      FY25          FY25         FY25         FY25        FY25        FY25
                                                         Current       Budget        BY+1         BY+2        BY+3        BY+4
                                                          Year          Year
Total Budget Request                                           $0        $23,606      $45,399            $0          $0          $0
Fund Summary
Fund Source
Fund Source                                               FY25          FY25         FY25         FY25        FY25        FY25
                                                         Current       Budget        BY+1         BY+2        BY+3        BY+4
                                                          Year          Year
State Operations - 0001 - General Fund                             0     23,606       45,399             0           0           0
Total State Operations Expenditures                            $0        $23,606      $45,399            $0          $0          $0
Total All Funds                                                $0        $23,606      $45,399            $0          $0          $0
Program Summary
Program Funding
Program Funding                                           FY25          FY25         FY25         FY25        FY25        FY25
                                                         Current       Budget        BY+1         BY+2        BY+3        BY+4
                                                          Year          Year
4550059 - Fac Plan & Const Mgmt Special Repairs                 0         23,606       45,399             0           0           0
Total All Programs                                             $0        $23,606      $45,399            $0          $0          $0
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                    Exhibit H
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            MEMORANDUM
              Date:        August 2, 2024
                           Chief Execu�ve Oﬃcers
              To:
                           Wardens
              From:


                           Brittany Brizendine, PsyD, MBA                  Jennifer Benavidez,
                           Deputy Director, Institution Operations         Deputy Director, Facility Operations
                           California Correctional Health Care Services    Division of Adult Institutions

              Subject: Expectations Relative to Institutional Oversight of Heat Plan Operations

            Heat is the leading cause of weather-related death in the United States, with almost 2,300 deaths in 2023.
            Older people and those with medical condi�ons are at an elevated risk for heat-related illness.

            As excessive heat warnings and seasonal implementa�on of the Heat Plans are opera�onal from
            May 1st through October 31st of each year, (more o�en as temperatures warrant), it is impera�ve the
            Warden and Chief Execu�ve Oﬃcer (CEO) work collabora�vely to protect staﬀ and incarcerated people
            by ensuring ins�tu�on Heat Plans are current and ac�ve with appropriate levels of oversight and
            compliance in place. The expecta�ons outlined within this memorandum delineate speciﬁc
            responsibili�es and ac�vi�es, which fall within the purview of the Wardens and CEOs. It is the expecta�on
            all Wardens and CEOs jointly review the requirements herein with your teams and ensure implementa�on
            of these ac�vi�es immediately.

            The Warden and CEO have overall responsibility to ensure adherence to the Statewide Heat Plan, the
            Local Ins�tu�onal Heat Plans, and the expecta�ons set forth herein. The Warden and CEO shall designate
            the Associate Warden, Healthcare Access Unit (AW HCAU) and Chief Support Execu�ve (CSE) to partner
            as the opera�onal owners responsible for the Heat Plan. The AW HCAU and CSE are responsible to ensure
            complete implementa�on, oversight and documenta�on of the provisions of the Heat Plan.

            The Warden and CEO are responsible for communica�ng to staﬀ and incarcerated people the following
            informa�on, at minimum:
                 •    Characteristics that might make a person particularly susceptible to heat-related illness
                 •    Signs and symptoms of heat-related illness
                 •    When to seek urgent help
                 •    The resources available to staff and incarcerated people during periods of excessive heat.
                 •    Educational materials Excessive Heat Resources

            If an institution is expected to be under Heat Advisory, which is defined as a condition where the heat
            index is expected to reach 100°F or higher, the Warden, CEO, and their executive teams must convene
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            daily during the weekdays for the duration of the heat advisory. If the Heat Advisory is expected over the
            weekend/holidays, the team shall meet on the last weekday prior to. The purpose of this meeting is to
            address and manage the situation, including any Stage Heat Alerts or heat related concerns. These daily
            meetings must cover and document all heat-related issues and action plans per policy, to include the
            operational plan and response to the heat conditions. The institution shall complete and maintain meeting
            minutes. To ensure the well-being of both staff and incarcerated individuals, daily discussions should
            include, but are not limited to, the following heat-related topics:

                •    Heat Plan Stage Alerts and routine temperature monitoring (indoor and outdoor)
                •    Program impacts.
                •    Staﬀ related impacts.
                •    Incarcerated persons related impacts.
                •    Facility related issues (i.e. Plant Opera�ons, Chiller, Electrical, Central Kitchen func�onality, etc.)
                •    Medical Warehouse (i.e. ensure the items requiring temperature control are maintained
                     appropriately; if reloca�on is needed, ensure space and plan for reloca�on is documented in
                     mee�ng minutes.)
                •    Pharmacy (i.e., appropriate oversight of all medica�on refrigerators, con�ngency plan in case of
                     outage, generator availability, etc.)
                •    Space Alloca�on (con�ngency plan)
                         o   Iden�fy adequate space for approximately 100 of the most vulnerable incarcerated
                             persons to relocate if necessary.
                         o   Iden�fy addi�onal space for staﬀ to relocate if necessary.
                •    Cooling sta�ons (loca�ons, as well as addi�onal cooling and hydra�on measures, etc.)
                •    Daily documenta�on.
                         o   Daily veriﬁca�on of the temperature records and all heat incident logs as required.
                         o   Daily veriﬁca�on of the housing unit logbook upon Stage III Heat Alert.
                         o   Upon Stage III Heat Alert, daily veriﬁca�on of the Medical Rounds Log.
                         o   Comple�on of mee�ng minutes.
                •    Reasonable accommoda�ons as necessary.

            The AW HCAU and CSE shall collaborate to ensure monthly oversight occurs, via the
            Resource Management Subcommittee (RMS). Specifically, the RMS shall ensure a complete Heat Plan
            Package is submitted, reviewed and discussed during the monthly RMS meeting, and reported
            up to the institution Quality Management Committee (QMC) during the months of April – October.

            The Correctional Plant Manager (CPM) shall ensure testing of all thermometers located within the housing
            unit(s) and outdoors will be conducted in April and July of each year to ensure accuracy. This testing
            requirement will be generated through the preventive maintenance (PM) work order system for auto
            scheduling every April and July. Upon completion of the testing, the CPM or designee shall provide a proof
            of practice memorandum to the institution Heat Plan Coordinator verifying all thermometers have been
            tested, noting the condition of each thermometer, and confirmation they are of working order.



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            The Heat Plan Coordinator shall provide the proof of practice memorandum to the RMS for review. A
            complete Heat Plan Package must include the following:
              •    Meeting minutes.
              •    CDCR Form 7711-1, Heat Plan Monthly Summary Report (Attachment B), signed by the Warden and
                   CEO.
              •    CDCR Form 2030, Outside Temperature Record (Attachment C)
              •    CDCR Form 2031, Inside Temperature Record (Attachment D)
              •    CDCR Form MH-7711-2, Heat Incident Log (Attachment E)
              •    CDCR Form MH-7711-3, Medical Rounds Log (Stage III) (Attachment F)
              •    Weekly List of Heat-Risk Incarcerated Persons for the respective month in review.

            Each Warden and CEO shall send a conﬁrma�on email to their respec�ve RHCE and AD no�ng compliance
            to this direc�ve no later than August 31, 2024.


            Atachments enclosed

            cc:      Joseph Bick, MD, Director, Health Care Services
                     Ron Broomfield, Director, Division of Adult Institutions
                     Dave Lewis, Director, Facility, Planning and Construction Management
                     Joseph (Jason) Williams, Director, Corrections Services
                     Amar Mehta, MD, Deputy Director, Mental Health Services
                     Renee Kanan, MD, Deputy Director, Medical Services
                     Barbara Barney Knox, Deputy Director, Nursing Services
                     Kevin Myers, DDS, Deputy Director, Dental
                     Annette Lambert, Deputy Director, Quality Management
                     Antronne Scotland, Deputy Director (A), Corrections Services
                     Jared Lozano, Deputy Director, Division of Adult Institutions
                     Michelle Weaver, Deputy Director, Facility, Planning and Construction Management
                     Regional Health Care Executives
                     Associate Directors, Division of Adult Institutions




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APPENDIX A: RECOMMENDATIONS

  OVERARCHING RECOMMENDATIONS

  •    Track surgical outcomes to determine whether surgical outcomes are comparable to
       community outcomes, whether data indicate negative trends with particular providers
       and/or prisons, and what, if any, remedial actions may be necessary.

  •    Provide more detailed and accessible informational resources, more robust face-to-face
       patient education for patients seeking gender-affirming surgery, and more substantive
       training for CCHCS staff who work with these patients, so patients and their care teams
       can engage in informed consent and shared decision making at every stage in the process.

  •    Update its Health Care Department Operations Manual (HC-DOM), Transgender Care
       Guide, Durable Medical Equipment and Medical Supply Formulary, Comprehensive
       Accommodation Formulary Guidelines, Drug Formulary, and training to address the
       specific issues with pre- and post-operative care identified in this letter.

  •    Conduct quality assessments to ensure surgeons’ cultural competency and
       professionalism.

  I.      SURGICAL OUTCOMES: RECOMMENDATIONS

          We make several recommendations below for improving CCHCS’s patient education
  programs and pre- and post-surgical care, which we believe would improve surgical
  outcomes for patients. Ultimately, we recommend that CCHCS investigate and begin
  regularly tracking outcomes of gender-affirming surgeries to determine whether surgical
  outcomes are comparable to community outcomes, whether data indicate negative trends
  with particular providers and/or prisons, and what, if any, remedial actions may be necessary.
  We recommend that CCHCS share this information and general risks and complications with
  patients seeking and receiving this health care. We also recommend that CCHCS require
  contracted surgeons to provide this information to CCHCS and to patients and disclose their
  CDCR-specific outcomes to patients.

          Recently, CCHCS created three registries to track gender-affirming surgery-related
  care. We recommend that CCHCS add additional fields to the appropriate gender-affirming
  care registry to track post-operative complications; whether medical procedures and surgical
  revisions have been recommended, approved, or provided; patient-reported outcome
  measures; post-operative consultation scheduling and timeliness, and other relevant
  categories discussed throughout this letter.
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II.    PATIENT EDUCATION: RECOMMENDATIONS

        We recommend that CCHCS provide patient education, including detailed
informational resources, to all TGI patients before any request for gender-affirming surgery
is evaluated and throughout the gender-affirming surgery request process. Per WPATH
SOC, resources should also include surgeon-specific outcome data, discussed in Part I, and
include accurate information about the types of outcomes, risks, and complications that can
occur during and after surgeries based on recent research. Resources should also discuss
benefits and lifelong aftercare plans, as relevant. This information should be available in
multiple formats, including written/visual hard copies that individuals can keep, and must be
provided in accessible formats, including large print, plain language, and other formats as
access needs require. Patients should be able to request consultations to discuss the provided
information with a qualified individual who possesses relevant knowledge and expertise
about gender-affirming medicine generally and gender-affirming surgery preparation
specifically.

        We further recommend that CCHCS provide detailed informational resources to staff
who work with these patients, so patients and their care teams can engage in informed
consent and shared decision making at every stage in the process. These resources should
include compilations of medically-accurate existing resources grouped by surgery type.
These resources could also include information relevant to their positions, including
culturally-competent examples of how to care for and treat TGI patients pre- and post-
operatively.

        We also recommend that CCHCS engage subject matter experts on gender-affirming
surgery who possess relevant clinical training and experience at the headquarters level.
These individuals could support patients and CCHCS staff alike to ensure the adequacy of
patient education and provider knowledge. Such individuals could also conduct chart
reviews and patient interviews to identify surgical outcomes, analyze trends, and develop
adequate responses to improve surgical results.

       Finally, we recommend that CCHCS adopt a HC-DOM policy to require a PCP
appointment with the patient after each surgical consultation and a PCP or PCRN
appointments four to six weeks prior to surgery to ensure that the patient has all relevant
information for surgical preparation and recovery. These appointments will permit patients
and their care teams to identify care needs prior to surgery and to work with custody staff,
programs staff, and health care staff to ensure that pre-operative and post-operative needs
(discussed in Parts III and IV, below) are identified and adequately planned for prior to
surgery.
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III.   PRE-OPERATIVE CARE: RECOMMENDATIONS

        We request that CCHCS adopt a HC-DOM policy that requires either the surgeon or
prison medical staff to determine whether hair removal is adequate at least one month prior
to surgery. If done by the surgeon, this could be conducted via telehealth to minimize
operational impacts of in-person transportation. If done by prison medical staff, we request
that CCHCS develop guidance to support clinicians to better understand the requirements for
pre-operative hair removal, the timelines for removal, and the risks and benefits of hair
removal. The policy should require documenting the determination in the medical chart.

IV.    POST-OPERATIVE CARE: RECOMMENDATIONS

        Concerning lay-ins, we recommend that CCHCS adopt a HC-DOM policy
establishing presumptive lay-in timelines by surgery type consistent with the
recommendations from surgeons and require that the issue be addressed for every patient.

      We also recommend that CCHCS update its Comprehensive Accommodation
Formulary Guidelines to ensure patients receive appropriate accommodations after
undergoing gender-affirming surgery. Specifically, we recommend that CCHCS:
   • Add “Gender-Affirming Top Surgery” and “Gender-Affirming Breast Augmentation”
      to the “Medical Necessity Guidelines” for the following accommodations: Bottom
      Bunk, Special Cuffing, and Work Restriction.
   • Add “Gender-Affirming Bottom Surgery” to the “Medical Necessity Guidelines” for
      the following accommodations: Bottom Bunk, Ground Floor (Limited or No Stairs),
      Limited Wheelchair User, Special Cuffing, and Work Restriction.
   • Add “Gender-Affirming Surgery (Other)” for the following accommodations: Bottom
      Bunk, Limited Wheelchair User, Special Cuffing, and Work Restriction.

        Additionally, we recommend CCHCS collaborate with CDCR custodial staff to
develop policies and procedures to ensure patients recovering from gender-affirming surgery
do not change housing assignments during their recovery period unless it is medically
necessary or there is a significant risk to the patient’s safety. We further recommend that
when changing a patient’s housing assignments is necessary, CCHCS and CDCR ensure that
the patient is provided with appropriate and adequate assistance.

        Concerning medical supplies, we detail recommendations by surgery type. For
gender-affirming top surgery (including masculinizing top surgery and breast augmentation),
we recommend that CCHCS update its DME and Medical Supply Formulary to include post-
operative supplies and DME specific to this surgery. Specifically, for all gender-affirming
top surgeries, we recommend that CCHCS’s formulary be revised to include specific
clothing, including button-front or zip-front shirts (at least two) and binders that are self-
adjustable (zipper or Velcro) for masculinizing top surgery. For breast augmentation, we
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recommend that the formulary include bras or chest girdles for postoperative care. We
recommend that CCHCS also develop guidance that requires CCHCS to provide patients
with these clothing items before transportation to the hospital, so they can wear them
postoperatively. We also recommend that CCHCS include wedge pillows as a post-operative
supply for post-surgical transport to the prison and for the first week back at the prison.

        For feminizing bottom surgery (vaginoplasty), we recommend that CCHCS update its
DME and Medical Supply Formulary to include post-operative hygiene supplies and DME
specific to this surgery. Specifically, we recommend that CCHCS’s formulary be revised to
include douching supplies, sitz bath supplies, additional underwear, incontinence supplies,
and panty liners. In the “Vaginal Dilator” section of the DME and Medical Supply
Formulary, the only items included are dilators. We recommend that CCHCS include related
dilation supplies in this section, including lubrication, anti-bacterial soap, paper towels or
toilet paper, chux, gloves, wipes, and a small mirror. Lastly, we recommend that CCHCS’s
formulary include a donut pillow or other medically-indicated seat cushions for a relevant
period of time post-operatively. We recommend that CCHCS guidance specify that these
supplies and DME should be ordered and available pre-operatively to minimize postoperative
supply or transportation issues, and that CCHCS should maintain PAR levels of these
supplies at each prison.

        For feminizing bottom surgery (vaginoplasty), we further recommend that CCHCS
and CDCR custodial staff work together to ensure that patients have adequate
accommodations to permit patients to privately dilate in their cells or dorms. For instance,
this could include temporary single cells, double-celling with a supportive individual, or
other types of housing. Patients should be able to dilate out of view of others, which must
include privacy screens and other supplies as needed. Requiring patients to dilate in the
clinic, with a nurse sitting in the room, is an inadequate, unreasonable option (especially
considering how often individuals must dilate after surgery).

        For masculinizing bottom surgery (metoidioplasty, phalloplasty, and other related
surgeries), we recommend that CCHCS update its DME and Medical Supply Formulary to
include wipes, anti-bacterial soap, chux, incontinence supplies, and underwear liners.
Specific DME should include a donut pillow or other medically-indicated seat cushions.

       For all gender-affirming surgeries, we recommend that CCHCS update its Drug
Formulary to permit silicone-containing scar gel or other scar reducing cream for at least 12
months postoperatively. Such treatment should be able to be continued based on an
individualized assessment.

       We also recommend that CCHCS identify and provide appropriate, pre-operative and
post-operative physical therapy. Multiple studies have demonstrated that physical therapy
can significantly reduce post-operative complications and other symptoms for patients
undergoing vaginoplasty, and may be beneficial for other types of surgery.
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        For all gender-affirming surgeries, we recommend that CCHCS adopt a HC-DOM
policy that requires a face-to-face PCP appointment within 5 days of the patient’s return to
the prison after any gender-affirming surgery and that the PCP determine whether patient has
adequate supplies for recovery and document the decision and rationale in a progress note
entered into the electronic health care record. For other post-operative surgical consultations,
we recommend that CCHCS adopt a HC-DOM policy that requires a face-to-face PCP
appointment within 14 days of the consultation and that the PCP review the surgeon’s
recommendations with the patient and document the surgeon’s recommendations, the PCP’s
determination, and subsequent orders or other plans.

         We recommend CCHCS’s new Integrated Gender Affirming Healthcare Program
regularly audit GAS-specific timelines, including but not limited to postoperative follow-up
care, if the Program is not doing so already. CDCR/CCHCS requested and were approved to
develop the Integrated Gender Affirming Healthcare Program whose aim is to “provide
quality and responsive health care” to TGI people. This unit should be tasked with
developing robust systems to track and monitor compliance with preoperative and
postoperative care at the statewide level.

V.     SURGEON CULTURAL COMPETENCY ISSUES

        We recommend CCHCS investigate these allegations and, if confirmed, no longer
contract with this surgeon for gender-affirming care. Additionally, we recommend that
CCHCS interview this surgeon’s patients to determine whether those patients should be
referred to other providers for additional follow-up care.

         We recommend that CCHCS should conduct quality assessments, including
interviewing patients, to assess all surgeons’ treatment of TGI patients. The purpose of such
assessments should be to ensure that contracted third-parties treat transgender patients with
respect and that surgeons and their staff can demonstrate cultural competency and
professionalism. Further, we recommend that CCHCS adopt a HC-DOM policy to require
staff to educate patients on available complaint procedures, including processes within and
external to CDCR and CCHCS, and should take steps to ensure TGI patients do not face
retaliation or lose access to care if they make complaints.
